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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


SYMBOLOGY INNOVATIONS, LLC,

       Plaintiff,                                           CASE NO. 1:20-CV-00889

       v.                                               JUDGE: BENITA Y. PEARSON

L’OCCITANE, INC.,                                          JURY TRIAL DEMANDED

       Defendant.



                        L’OCCITANE, INC.’S RULE 12(b)(6)
                MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendant L’Occitane, Inc. (“L’Occitane”) respectfully moves this Court to dismiss

Plaintiff Symbology Innovations, LLC’s (“Symbology”) Complaint, pursuant to Federal Rule of

Civil Procedure 12(b)(6), for failure to state a claim upon which relief can be granted.

The grounds for this motion are further set forth in L’Occitane’s Memorandum of Law in

Support of its Motion to Dismiss for Failure to State a Claim, which is being filed

contemporaneously herewith.




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Dated: May 27, 2020                                 Respectfully submitted,

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                                                   ATTORNEYS FOR DEFENDANT
                                                   L’OCCITANE, INC.




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing has been

electronically filed using the CM/ECF filing system on May 27, 2020, which automatically sends

email notifications to all counsel of record and which will permit viewing and downloading of

same from the CM/ECF system.

                                                    /s/ Scot A. Hinshaw
                                                    Scot A. Hinshaw (0096079)




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